     8:10-cr-00193-LSC-SMB           Doc # 39      Filed: 08/03/10      Page 1 of 1 - Page ID # 61


                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                            )           8:10CR193
                                                     )
                 Plaintiff,                          )
                                                     )            ORDER
v.                                                   )
                                                     )
DEANDRE W. ROBINSON and                              )
JOHN N. GRIFFY,                                      )
                                                     )
                 Defendants.                         )


         The Motions to Continue the Plea Hearing of defendant Deandre W. Robinson (Filing No. 37) and
John N. Griffy (Filing No. 36) are granted.


         IT IS ORDERED that the Change of Plea hearing is continued to September 8, 2010 at 10:00 a.m.
for both defendants before Magistrate Judge Thomas D. Thalken, Courtroom No. 7, Second Floor, Roman
L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.


         For these defendants, the time between August 3, 2010 and the hearing on the anticipated plea of
guilty is excluded for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C. §
3161(h)(1)(I)&(h)(8)(A)(B).


         Since this is a criminal case, the defendants must be present unless excused by the Court.


         Dated this 3rd day of August, 2010.

                                                         BY THE COURT:


                                                         s/ Thomas D. Thalken
                                                         United States Magistrate Judge
